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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DAVID RAO,                                   )
                                             )
                      Plaintiff,             )       Case No. 16-cv-8815
                                             )
       v.                                    )       Honorable Judge Milton I. Shadur
                                             )
BOARD OF TRUSTEES FOR THE                    )
UNIVERSITY OF ILLINOIS, et al.,              )
                                             )
                      Defendants.            )

               STIPULATION TO DISMISS ACTION WITH PREJUDICE

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, it is hereby

stipulated and agreed by and between the parties to the above-entitled action that this action be

dismissed with prejudice without costs or attorney's fees awarded to any party.



Date: February 24, 2017


DAVID RAO                                    BOARD OF TRUSTEES FOR THE
                                             UNIVERSITY OF ILLINOIS, ET AL.


By: s/ Elaine K.B. Siegel                    By: s/Jeff Nowak            ___
       Counsel for Plaintiff                        Counsel for Defendants

Elaine K.B. Siegel                           Jeff Nowak
Elaine K.B. Siegel & Assoc., P.C.            FRANCZEK RADELET P.C.
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Chicago, IL 60604                            Chicago, IL 60606




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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that he filed the foregoing

STIPULATION TO DISMISS with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to the following on this 24th day of February 2017.


                       ELAINE K.B. SIEGEL & ASSOC., P.C.
                       53 West Jackson Boulevard, Suite 405
                       Chicago, Illinois 60604

                                              By: /s/Jeff Nowak


                                              Jeff Nowak
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